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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                             Chapter 7

LIVE WELL FINANCIAL, INC., et al.,                 Case No. 21-50990 (LSS)

                Debtors.                           (Jointly Administered)


DAVID W. CARICKHOFF, as Chapter 7
Trustee of LIVE WELL FINANCIAL, INC.,

                     Plaintiff,

v.
                                                   Adv. Pro. No. 21-50990 (LSS)
STUART H. CANTOR, JAMES P.
KARIDES, BRETT J. ROME, LWFVEST,
LLC, NORTH HILL VENTURES II, LP,
FIVE ELMS EQUITY FUND I, L.P., FIVE
ELMS HAAKON, L.P., FIVE ELMS
COINVEST, L.P., JAMES BROWN,
GANTCHER FAMILY LIMITED
PARTNERSHIP, and ERIC LEGOFF,

and

JOHN DOES 1–10,

                   Defendants.


              STIPULATION FOR AN EXTENSION OF TIME FOR
      DEFENDANT STUART CANTOR TO RESPOND TO AMENDED COMPLAINT

         Pursuant to Local Rule 7012-2, it is hereby stipulated and agreed by and between counsel

for Plaintiff David W. Carickhoff, as Chapter 7 Trustee of Live Well Financial, Inc. and counsel

for Defendant Stuart Cantor (“Defendant”), that the time period within which Defendant may

answer, move or otherwise respond to the Amended Complaint [Dkt. No. 45] in the above-

captioned adversary proceeding is hereby extended to and including January 15, 2023. The parties




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are engaged in settlement discussions to resolve the adversary proceeding against Defendant

without need for further litigation.

Dated: December 15, 2023

  BLANK ROME LLP                                    MORRIS JAMES LLP

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  Counsel to the David W. Carickhoff, as
  Chapter 7 Trustee of Live Well Financial, Inc.




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